528 F.2d 317
    91 L.R.R.M. (BNA) 3006, 78 Lab.Cas.  P 11,390
    NATIONAL LABOR RELATIONS BOARD, Petitioner,v.LOCAL UNION NO. 369, INTERNATIONAL BROTHERHOOD OF ELECTRICALWORKERS, AFL-- CIO, Respondent,Kelley Electric Co., Inc., Intervenor.
    No. 75--1454.
    United States Court of Appeals,Sixth Circuit.
    Jan. 14, 1976.
    
      Elliott Moore, Deputy Associate Gen. Counsel, Stanley R. Zirkin, Peter M. Bernstein, Attys., N.L.R.B., Washington, D.C., for petitioner.
      Charles R. Isenberg, Raymond L. Sales, Thomas G. Jarrell, Segal, Isenberg, Sales &amp; Stewart, Louisville, Ky., for respondent.
      Louis E. Woolery, Smith &amp; Smith, Louisville, Ky., for intervenor.
      Before EDWARDS, LIVELY and ENGEL, Circuit Judges.
    
    ORDER
    
      1
      This case is before the court on application for enforcement of an order of the National Labor Relations Board.  The decision and order of the Board are reported at 216 N.L.R.B. $25.  The Board found that the Union (Local No. 369, International Brotherhood of Electrical Workers, AFL--CIO) had violated Section 8(b)(4)(i) and (ii)(B) by the manner in which it picketed a construction site.  The Union was engaged in a labor dispute with a sub-contractor and the Board found that the object of its picketing was to force the neutral general contractor to cease doing business with the sub-contractor.
    
    
      2
      After consideration of the briefs and oral arguments and study of the record the court concludes that the findings of the Board are supported by substantial evidence on the record considered as a whole and that the order entered by the Board is proper.
    
    
      3
      It is therefore ordered that the order of the Board be and it hereby is enforced.
    
    